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UNITED STATES, Appellee
Vv.

Christopher D. WIEST, Cadet
U.S. Air Force, Appellant
No. 03-0106
Crim. App. No. 33964

United States Court of Appeals for the Armed Forces

Argued October 1, 2003
Decided March 16, 2004
CRAWFORD, C.J., delivered the opinion of the Court, in
which GIERKE, EFFRON, and BAKER, JJ., joined. ERDMANN, J.,
filed a dissenting opinion.
Counsel
For Appellant: Mr. Frank J. Spinner, Esq. (argued); Colonel

Beverly B. Knott, Major Terry L. McElyea, Major Bryan A. Bonner,
and Captain Antony B. Kolenc (on brief).

For Appellee: Lieutenant Colonel Michael E. Savage (argued);
Colonel LeEBllen Coacher (on brief); and Lieutenant Colonel Lance

B. Sigmon.

Military Judge: J. Jeremiah Mahoney

THIS OPINION IS SUBJECT TO EDITORIAL CORRECTION BEFORE FINAL PUBLICATION.

EXHIBIT

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CRAWFORD, Chief Judge, delivered the opinion of the Court.

Contrary to his pleas, Appellant, a cadet at the Air Force
Academy, was convicted by officer members of one specification
of Article 134, Uniform Code of Military Justice [hereinafter
UCMJ}], 10 U.S.C. § 934 (2000), by damaging a computer, in
violation of 18 U.S.c. § 1030 (A) (5) (B) (2000).+ He was sentenced
to a dismissal and total forfeitures. The convening authority
approved the dismissal and partial forfeitures, and the Air
Force Court of Criminal Appeals affirmed the findings and
sentence.

Because we hold the military judge abused his discretion in
refusing to grant a defense-requested continuance to obtain a
Civilian lawyer (Issue I), we will not address the other granted

issues.?

“We heard oral argument in this case al Offutt Air Force Base,
Bellevue, Nebraska, on October 1, 2003, as part of "Project
Outreach." See United States v. Allen, 34 M.d. 228, 229 n.l
(C.M.A. 1992).

2 If. WHETHER THE EVIDENCE IS LEGALLY SUFFICIENT
TO SUSTAIN APPELLANT’S CONVICTION TO THE LESSER-
INCLUDED OFFENSE OF 18 U.S.C. § 1030(A) (5) (B) FOR
INTENTIONALLY ACCESSING A PROTECTED COMPUTER WITHOUT
AUTHORIZATION AND RECKLESSLY CAUSING DAMAGE WHERE
THERE IS NO EVIDENCE THAT APPELLANT’S ACCESS TO THRE
COMPUTER IN QUESTION ACTUALLY CAUSED THE DAMAGE
ALLEGED BY THE PROSECUTION AND WHERE APPELLANT
HONESTLY BELIEVED HIS ACCESS TO THE SYSTEM WAS
AUTHORIZED.

Iii. WHETHER THE MILITARY JUDGE ERRED IN INSTRUCTING
THE MEMBERS ON THE LESSER-INCLUDED OFFENSE OF
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FACTS
The Government contends that, contrary to the United
States Air Force Academy (USAFA) rules, Appellant attempted to
use his computer to access internet chat rooms. To prevent such
communications, USAFA had previously developed a firewall as
part of the USAFA network.

On February 2, 1999, defense counsel requested a new
investigation pursuant to Article 32, UCMJ, 10 U.S.C. § 832
(2000), arguing that the Government mistakenly told defense
counsel that logs describing individuals at USAFA who had
entered and exited the firewall did not exist. In discussing
the motion, the judge made several comments concerning the
competency of the defense counsel for relying on the
Government’s assertion that these logs did not exist, and for
not independently investigating the existence of the logs. When
discussing the reason for a new Article 32 investigation, the
judge criticized the attorneys as follows:

Certainly as an attorney, one would expect to question

why [the firewall logs] didn’t exist. Whether it was
a routine matter or there was something about the

SPECIFICATION 1 OF THE CHARGE WHERE HE FAILED TO
INSTRUCT THE MEMBERS THAT THE UNAUTHORIZED ACCESS TO
THE COMPUTER SYSTEM MUST HAVE BEEN INTENTIONAL.

IV. WHETHER THE MILITARY JUDGE ERRED IN PROVIDING THE
COURT MEMBERS A MISTAKE OF FACT INSTRUCTION WHICH
REQUIRED THEM TO FIND THAT APPELLANT’S MISTAKE OF FACT
WAS REASONABLE INSTEAD OF MERELY HONEST.
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particular logs from this occasion that somehow were

lost or destroyed inadvertently . .. . We are just

talking about testing the available evidence, which is

the function of an advocate.

In response to defense counsel’s explanation as to why the
motion was made months after the original Article 32
investigation, the judge stated, “but the thought never occurred
to you at that time to ask why [the logs] didn’t exist?” “[I]f£
you have an indication that the type of evidence that you are
looking for should be in existence, then I think as an attorney
you should be questioning why it is no longer in existence.”

The judge said defense counsel should not have accepted the
government representative’s statement that the logs did not
exist, and should have asked their own consultant rather than
relying on the Government representative. The judge said
defense counsel should have assumed the records were always
present and “had been misinformed.” Counsel responded that they
assumed the government was telling the truth. The judge then
said, “a competent advocate assume[s] nothing.” In response to
the judge’s continued questioning, the defense counsel stated:
“Again, if we were remiss and if I’m not a competent advocate
for not confirming that, I’ll take that hit. But, it doesn’t
take anything away from the fact that [the Government] actually
knew the records existed

.” Tater, the defense admitted

they were “novices with computers” and dependent upon experts
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who thought the logs did not exist. In denying the motion for a
new Article 32 investigation, the judge noted that the
“availability of the firewall logs, regardless of their
completeness, was unappreciated by both the prosecution and the
defense.” He continued:

The attorneys in this case were not by training or

experience well-equipped to deal with the complex

computer[-]related materials inherent in the alleged
offenses .... [I]t is utterly confounding to the

court the defense expert limited himself to stating

requests to attorneys who were not equally qualified

in the subject matter.

After the judge denied the motion for a new Article 32
investigation, Appellant told the judge he believed his counsel
were ineffective at the original Article 32 investigation, and
therefore requested new defense counsel. Appellant was then
told he had misunderstood the judge’s words; in not ordering a
new Article 32 investigation, the judge did not say that counsel
was ineffeclive. Appellant disagreed, and personally addressed
the court as follows: “Your Honor, in light of your statements
that my counsel were ineffective at my Article 32 hearing, as
well as throughout the proceedings leading up to this court-
martial, . . . I would like to fire both.” The judge replied
again that Appellant had misunderstood his prior remarks, but

that because Appellant insisted on new counsel, replacement

counsel “must be available and prepared for trial on 8 March
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1999.” The judge did not at this time release original defense
counsel.

Appellant then requested representation by Major Theurer,
defense counsel with a reputation as an expert in computer
matters, as an individual military defense counsel under Rule
for Courts-Martial 506(b) [hereinafter R.C.M.]. Although Major
Theurer’s superior approved the request, he was not available
for trial on March 8, prompting the judge to state that “if
Major Theurer is not available on the 8th of March, then he is
not available period. The trial will proceed without him.” On
February 10, Mr. Spinner, a civilian defense counsel, entered
his appearance on behalf of Appellant, but requested a delay
until April 19, because of his schedule. On the same day, the
military judge faxed a response to Mr. Spinner, advising him
that the trial date was March 8 and, “If you wish to represent
the accused you need to be present and prepared on that date.”
He further advised Mr. Spinner, “If you cannot be available and
prepared on that [sic] 8 Mar 99, you are not reasonably
available and should not undertake this representation.”
Finally, he advised Mr. Spinner, “You should not count on any
further continuance being granted, and make your plans
accordingly for preparation or termination of your

representation.”
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On February 12, the Government asked that the continuance
be denied because Appellant “is free to retain counsel
Given the amount of time that Cadet Wiest has had, and still
has, to obtain counsel that are available on 8 Mar 99, we
believe no continuances are necessary at this time.” On the
same date, the judge denied the defense request for a
continuance.®*

Appellant asked for new military defense counsel on March
8. Two new military defense counsel entered appearances for
Appellant and indicated they were ready to proceed. Mr.
Spinner, who had also been retained as civilian counsel, was not
ready to begin because of other commitments. At this session,
Appellant’s request to release prior military counsel was
granted, as was his request to be represented by new counsel,
without Mr. Spinner as civilian counsel. The trial proceeded as
scheduled.

DISCUSSION
The right to counsel is fundamental to our system of

justice. United States v. Palenius, 2 M.J. 86 (C.M.A. 1977).

It should therefore be an unusual case, balancing ali the

factors involved, when the judge denies an initial and timely

3 We need not decide whether the trial judge was disqualified
under R.C.M. 902(b) (1), because he had “knowledge of disputed
evidentiary facts concerning” the availability of Mr. Spinner by
obtaining facts ex parte and not subject to judicial notice.
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request for a continuance in order to obtain civilian counsel,
particularly after the judge has criticized appointed military
counsel. Indeed, we have noted that the right to civilian
counsel is a “most valuable right,” and that therefore a
continuance should be granted at least after initial requests
for such counsel have been made, and certainly in a case where
Appellant is unsure of his appointed military representation.

United States v. Kinard, 21 C.M.A. 300, 303, 45 C.M.R. 74, 77

(C.M.A. 1972) (citing United States v. Donohew, 18 C.M.A. 149, 39

C.M.R. 149 (C.M.A. 1969)); cf. Morris v. Slappy, 461 U.S. 1, 3-4

(1983) (citing Slappy v. Morris, 649 F.2d 718 (9th Cir. 1981)).

Accordingly, we hold that the military judge erred by exercising
an inelastic attitude in rescheduling Appellant’s trial, where
such request was predicated on the judge’s negative comments
about Appellant’s original military counsel and Appellant's
subsequent selection of a new civilian counsel.

Our standard of review in the case at bar is abuse of

discretion. United States v. Weisbeck, 50 M.J. 461, 464-66

(C.A.A.F. 1999). In determining whether the judge abused his

discretion, we consider the factors articulated in United States

v. Miller: “surprise, nature of any evidence involved,
timeliness of the request, substitute testimony or evidence,
availability of witness or evidence requested, length of

continuance, prejudice to opponent, moving party received prior
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continuances, good faith of moving party, use of reasonable
diligence by moving party, possible impact on verdict, and prior
notice.” 47 M.dJ. 352, 358 (C.A.A.F. 1997) (citation omitted).

See also United States v. Cokeley, 22 M.J. 225, 229-30 (C.M.A.

1986) (availability of witnesses); Kinard, 21 C.M.A. at 305, 45
C.M.R. at 79.

As to surprise on February 10, Mr. Spinner requested a
continuance well before the March 8 trial date. The request for
a continuance was based on unexpected events. Here, Appellant
was clearly surprised by the harsh criticism of his counsel by
the military judge, and this factor weighed in favor of a
continuance. As to timeliness, Mr. Spinner requested the
continuance as soon as he was retained, six days after the court
was recessed and well before the trial date. He had made no
prior requests for continuance, nor was there any delay or bad
faith by Appellant as he contacted Mr. Spinner almost
immediately and Mr. Spinner promptly submitted his request for a
continuance.

Because of the comments made by the judge concerning
Appellant’s representation at the Article 32 hearing, Appellant
requested the appointment of new military counsel and sought, in
addition, to retain civilian counsel. Based on the record, this
request was not a surprise. Appellant’s request for new counsel

was submitted shortly after the February 2 session pursuant to
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Article 39(a), UCMJ, 10 U.S.C. § 851(a) (2000). The timing of
this request theretore allowed sufficient time to establish a
date when civilian counsel would be available to work within the
schedule of the witnesses, none of whom were outside the United
States. Moreover, the Government did not establish a reason for
opposing Appellant’s request for a continuance, other than
noting that the witnesses were available on March 8, 1999. Nor
did they establish an attempt by Appellant to “vex” the
Government, or show that witnesses would not be available at a
later date. “Where a military judge denies a continuance
request made for the purpose of obtaining civilian counsel,
prejudice to the accused is likely.” Miller, 47 M.J. at 359.
Given these circumstances, the military judge should have
granted the continuance, and therefore abused his discretion in
failing to do so.
DECISION

The decision of the United States Air Force Court of
Criminal Appeals is reversed, the findings and the sentence are
set aside, and the record of trial is returned to the Judge
Advocate General for a further disposition not inconsistent with

this opinion.

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CORRECTED COPY — DESTROY ALL OTHERS

DEPARTMENT OF THE AIR FORCE
HEADQUARTERS UNITED STATES AIR FORCE ACADEMY (USAFA)
USAF ACADEMY, COLORADO 80840

General Court-Martial Order 27 September 2004
No. 8

In the general court-martial case of CADET CHRISTOPHER D. WSISF WIEST, Cay 1530,
the findings of guilty and sentence as promulgated in General Court-Martial Order No. 2, this
headquarters, dated 27 December 1999, were set aside on 16 March 2004. A rehearing was
found to be impractical. Pursuant to the authority of RCM 1 107(e), the charges are dismissed.
All rights, privileges, and property of which the accused has been deprived by virtue of the
findings of guilty and the sentence so sét aside will be restored. That sentence was adjudged on
13 March 1999.

ACM #33964,

/s/
JOHN W. ROSA
Lieutenant General, USAF
Superintendent

FOR THE SUPERINTENDENT.

MI LR. MCANTEE, Colonel, USAF
Staff Judge Advocate

EXHIBIT

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1-GCMO No. 8 Personal Data — Privacy Act of 1974 (5 U.S.C. 552a)
CAUTION: NOT TO CAN een ton ev-01578- “TNMs ANTIRSONTANT RECORD, Filed 06/04/21 he GE Aagss

IDENTIFICATION PURPOSES SAFEGUAR RATIONS IN SHADED AREAS

RENDER FORM VOID
! CERTIFICATE OF RELEASE OR DISCHARGE FROM ACTIVE DUTY
1. NAME (Last, First, Middle} * | 2. DEPARTMENT, COMPONENT AND BRANCH 3. SOCIAL SECURITY NUMBER
Wiest, Christopher, David AIR FORCE - USAFA CADET a | o | 1530
Aa, GRADE: ‘RATE OR RANK ° b.PAY GRADE .. - |5. DATE OF BIRTH (YyyymMMpD) | 6. RESERVE OBLIGATION TERMINATION DATE
AF CADET AFCADET - 1977 Ge (YYYYMMDD)
7a. PLACE OF ENTRY INTO ACTIVE DUTY b. HOME OF RECORD AT TIME OF ENTRY (City and State, or complete address if known)
8a. LAST DUTY ASSIGNMENT AND MAJOR COMMAND b. STATION WHERE SEPARATED
34TRW (USAFA) USAF ACADEMY COLORADO
9. COMMAND TO WHICH TRANSFERRED 10. SGLI COVERAGE| NONE
NOT APPLICABLE AMOUNT: $ _ 200,000.00
44.PRIMARY SPECIALTY (List number, tile and years and months in
specialty. List additional specialty numbers and titles Involving periods of 12, RECORD OF SERVICE YEARS(S)/MONTH(S)| DAY(S)
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NOT APPLICABLE b. SEPARATION DATE THIS PERIOD 2005 May 31
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RIBBONS AWARDED OR AUTHORIZED (Ali periads of service) year completed)
AF Outstanding Unit Award W/ One Oak Leaf, National Defense Service /Basic Cadet Training, 6 Weeks, Aug 96,--Nothing Follows
Medal, Basic Parachute Badge, ~-Nothing Follows— ,
15a, MEMBER CONTRIBUTED TO POST-VIETNAM ERA VETERANS’ EDUCATIONAL ASSISTANCE PROGRAM YES} X |NO
b. HIGH SCHOOL GRADUATE OR EQUIVALENT X YES NO
16. DAYS ACCRUED LEAVE 47, MEMBER WAS PROVIDED COMPLETE DENTAL EXAMINATION AND ALL APPROPRIATE YES | NO
PAID -0- DENTAL SERVICES AND TREATMENT WITHIN SO DAYS PRIOR TO SEPARATION Xx
18,REMARKS ,
ATTENDED USAF ACADEMY IN CADET STATUS FROM: 27 Jun'96 TO 31 May 05. SERVICE NOT CREDITABLE FOR ANY PURPOSE IN
COMMISSIONED OFFICER STATUS. MEMBER HAS NOT COMPLETED FIRST FULL TERM OF SERVICE. ; ~ NOTHING FOLLOWS —_——

The Information. contained herein is subject to computer matching within Department of Defense or with other affected Federal or non-Federal agency for
verification purposes.and to determine eligibility for, and/or compliance with, the requirements of a Federal benefit program:

19.4, MAILING: ADDRESS. AFTER SEPARATION (Include ZIP Code) 19.b.. NEAREST RELATIVE (Namie and address =include Ze Code) -
2669 Ravenwood Court, Wexford, PA 15090 : MR&MRS ROBERT N WIEST, 2669 RAVENWOOD c MEFORD, PA
15090
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21, SIGNATURE OF MEMBER BEING: SEPARATED ~ 22. OFFICIAL AUTHORIZED TO SIGN (Typed name, grade, title and ‘entre me
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NCOIC, Cadet Personnel Branch C €
poi de: SPECIAL: ADDITIONAL INFORAMATION (For use by authorized agencies only) ‘
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Andy Beshear KENTUCKY STATE POLICE Mary C. Noble
Governor (1266 LOUISVILLE ROAD Secretary
FRANKFORT, KY 40601
Phone: (502) 227-8700
www.kentuckystatepolice.org Col. Phillip Burnett, Jr.
Commissioner

May 7, 2021

Christopher Wiest

Crestview Hills, KY 41017

Re: Request for reconsideration of revocation of CCDW license
Applicant #0308765

Dear Mr. Wiest:

Your request for reconsideration of the revocation of your carry concealed deadly
weapons (CCDW) license has been considered, and pursuant to KRS 237.110(4)(a),

your request is hereby denied because you are disqualified from possessing a CCDW
license. KRS 237.110(13) provides that a CCDW license shall be suspended or revoked

if the licensee becomes ineligible to be issued a license. KRS 237.110(4)(a) provides
that the Kentucky State Police, following the background check required by KRS
237.110(8), shall issue a license if the applicant is not prohibited from the purchase,
receipt, or possession of firearms, ammunition, or both pursuant to 18 U.S.C. 922(g), 18
U.S.C. 922(n), or applicable state law.

You are ineligible to purchase, possess, or receive a firearm under 18 U.S.C. 922(g)(1-
9) or 18 U.S.C. 922(n), and in turn ineligible for a CCDW license pursuant to KRS
237.110. If you have not already done so, you are required to surrender your CCDW
license to the sheriff of your county of residence within two (2) business days of the

receipt of the notice. Failure to surrender a suspended or revoked license as ordered is
a Class A misdemeanor.
EXHIBIT

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Kentucky

KentuckyUnbridledSpirit.com UNBRIDLED OY An Equa) Opportunity Employer M/F/D
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Page 2
January 6, 2020

If you wish to challenge, you may contact the US Air Force Office of Special
Investigations, Quantico, VA by phone (571) 305-8484 and obtain more information:
Your NTN number is 101PKJSP5 and your NRI number is 2516484785.

Additionally, pursuant to KRS 237.110(13), you are entitled to request an administrative
hearing on the issue of the revocation of your CCDW license. According to 502 KAR
11:070, you have thirty (30) days from this letter to request an administrative hearing.
To request an administrative hearing, you must surrender your CCDW license to the
sheriff of your county of residence and petition the Commissioner of the Kentucky State
Police. You should include a telephone number where you can be reached regarding
the hearing request. Your petition for an administrative hearing must be sent to:

Commissioner

Kentucky State Police

clo Commander

Criminal Identification & Records Branch
1266 Louisville Road

Frankfort, KY 40601

Possession of firearms or ammunition by you is a violation of 18 U.S.C. 922(g),
subjecting you to possible prosecution for violation of federal firearms restrictions.
Therefore, you should immediately and lawfully dispose of your firearms and
ammunition. The KSP recommends that you transfer your firearms and ammunition to a
third party, such as your attorney, local law enforcement agency, or a federal firearms
dealer. The continued possession of firearms or ammunition by you is a violation of law
and may subject you to criminal penalties as well as seizure of your firearms and
ammunition.

Sincerely,

oy a L dL.

Captain Bradley Arterburn
Commander
Criminal Identification & Records Branch

BA/ab
coab0085
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chris@cwiestlaw.com

From: chris@cwiestlaw.com

Sent: Monday, April 19, 2021 1:08 PM
To: ‘DAF.C)IC@us.af.mil’

Subject: AFOSI/ Expungement
Attachments: LetterAFOSI-4-19-21.pdf

To Whom It May Concern:

Please see the communication, attached.

Sincerely,

Christopher Wiest

Chris Wiest, Attorney at Law, PLLC
25 Town Center Blvd, Ste. 104
Crestview Hills, KY 41017
513-257-1895 (v)

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AY

Wiest, Attorney at Law, PLUG
By ‘. CRS EY Conter B wal, ma mm
Cresiview LEYS, JAY

April 19. 2021
MEMORANDUM FOR HO AFOSENIC
Prom: Christopher David Wiest (SSS: Bg (530)
SUBIECT: Request for Expungement of Records for Former Service Mentber

i request the Air Foree review information it has submitted into criminal mdexing systems on
nw. Insupport of this request Pam providing:

Verificution of Identity for Expungement Request

My name when in the military was Christopher David Wiest

My AFOSH Investigation number was unknown (SSN 173-068-1530)

My Security Forces Investigation number was unknown (SSN 173-608-1530

_ {List other documents such as court-martial findings offered m support of your request]

fy nee ed Ee

a. Attached, CAAF Decision, dated 3/16/2004
b. Attached. GCM Order No. 8. dated 9/27/2004
. Attached, Honorable Discharge DD214, dated 3/31/2005
d. Attached. Honorable Discharge. DD2S56AF, dated 5/32/2005
Specifically regarding my Interstate Identification Index (IU) record(s). T request:

BY tlianinat; Ly

1. (7 Elimination and Expungement of the National Instant Criminal Background Check
System (NICS) entries, indicating disqualification to awn or possess a Area. pursuant
to, among other things, Article 75, UCMI (10 USC 875), 28 CPLR. 25.10, ES ULS.C.

928A. the Administrative Procedure Act. the Privacy Act of 1974 (3 USC 552a), andsor
the Second and Filth Amendments to the United States Constitution:

ra

i ‘limination and Expungement of the Defense Criminal Index of Investigations
DCH) record, pursuant to, among other thinus, Article 75, UCM (10 USC 875), 28

CF AR. 25.10, 18 U.S.C, 925A, and the Administrative Procedure Act. the Privacy Act of

1974 (5 USC S822). and/or the Second and Fifth Amendments to the United States

Constituuon

ad

(Ww: fimination and Expungement of the National Crime Information Center

me IC) record, pursuant to, among other things, Article 73, UCMJ (10 USC 875). 28
ORR. 25.10, 18 U.S.C. 9254. and the Administrative Procedure Act. the Privacy Act ol

ord (3 USC $32a). andor the Second and Filth Amendments to the United States

Constitudon:
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This is the second time that I have had to obtain record correction from your agency in
the last five years, to exercise fundamental rights guarantied by the Second Amendment to the
United States Constitution.

As a consequence of yet again being improperly added to the NICS database by your
agency, I have had the Kentucky State Police indicate that they are revoking my state concealed
carry license. 1 am therefore seeking a complete expungement of all records concerning the
court martial to ensure that administrative errors does not again deprive me of firearm rights and
to avoid the need to file an action in the appropriate United States District Court.

I reserve the right to seek immediate relief, declaratory, injunctive, and otherwise, in the
appropriate United States District Court, to vindicate the rights involved.

Sincerely,

Christopher Wiest
25 Town Center Blvd, Ste 104

Crestview Hills, KY 41017
§13-257-1895
Case 1:21-cv-01578-TNM Document1-1 Filed 06/04/21 Page 19 of 35

Verification of Identity

To aid processing of my expungement request, below is my identify verification data:

1. Name: Chrisdpher Davi? I Jiest

2. Current Mailing Address

Crestyice Mike be vorr>

3. DoD ED Number or SSN if no DoD ID number is available:
Sow : & E-/S 20

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct, and that I am the person named above (requester) and I understand
that any falsification of this statement is punishable under the provisions of 18 USC Section
1001 by a fine of not more than $10,000.00 or by imprisonment of not more than five years, or
both, and that requesting or obtaining any record(s) under false pretenses is punishable under the
provisions of 5 USC. 552a(i)(3) by a fine of not more than $5,000.00.

Signature and Date:

U/i9/2
Case 1:21-cv-01578-TNM Document1-1 Filed 06/04/21 Page 20 of 35

UNITED STATES, Appellee
v.

Christopher D. WIEST, Cadet
U.S. Air Force, Appellant
No. 03-0106
Crim. App. No. 33964

United States Court of Appeals for the Armed Forces

Argued October 1, 2003
Decided March 16, 2004
CRAWFORD, C.J., delivered the opinion of the Court, in
which GIERKE, EFFRON, and BAKER, JJ., joined. ERDMANN, J.,
filed a dissenting opinion.
Counsel
For Appellant: Mr. Frank J. Spinner, Esq. (argued); Colonel

Beverly B. Knott, Major Terry L. McElyea, Major Bryan A. Bonner,
and Captain Antony B. Kolenc (on brief).

For Appellee: Lieutenant Colonel Michael E. Savage (argued);
Colonel LeEllen Coacher (on brief); and Lieutenant Colonel Lance

B. Sigmon.

Military Judge: J. Jeremiah Mahoney

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United States v. Wiest, No. 03-0106/AF

CRAWFORD, Chief Judge, delivered the opinion of the Court.

Contrary to his pleas, Appellant, a cadet at the Air Force
Academy, was convicted by officer members of one specification
of Article 134, Uniform Code of Military Justice [hereinafter
UCMJ], 10 U.S.C. § 934 (2000), by damaging a computer, in
violation of 18 U.S.C. § 1030(A) (5) (B) (2000).+ He was sentenced
to a dismissal and total forfeitures. The convening authority
approved the dismissal and partial forfeitures, and the Air
Force Court of Criminal Appeals affirmed the findings and
sentence.

Because we hold the military judge abused his discretion in
refusing to grant a defense~-requested continuance to obtain a
Civilian lawyer (Issue I), we will not address the other granted

issues.”

1 We heard oral argument in this case at Offutt Air Force Base,
Bellevue, Nebraska, on October 1, 2003, as part of "Project
Outreach." See United States v. Allen, 34 M.J. 228, 229 n.1
(C.M.A. 1992).

2 II. WHETHER THE EVIDENCE IS LEGALLY SUFFICIENT
TO SUSTAIN APPELLANT’S CONVICTION TO THE LESSER-
INCLUDED OFFENSE OF 18 U.S.C. § 1030(A} (5) (B) FOR
INTENTIONALLY ACCESSING A PROTECTED COMPUTER WITHOUT
AUTHORIZATION AND RECKLESSLY CAUSING DAMAGE WHERE
THERE IS NO EVIDENCE THAT APPELLANT’S ACCESS TO THE
COMPUTER IN QUESTION ACTUALLY CAUSED THE DAMAGE
ALLEGED BY THE PROSECUTION AND WHERE APPELLANT
HONESTLY BELIEVED HIS ACCESS TO THE SYSTEM WAS
AUTHORIZED.

III. WHETHER THE MILITARY JUDGE ERRED IN INSTRUCTING
THE MEMBERS ON THE LESSER-INCLUDED OFFENSE OF
Case 1:21-cv-01578-TNM Document1-1 Filed 06/04/21 Page 22 of 35

United States v. Wiest, No. 03-0106/AF

FACTS
The Government contends that, contrary to the United
States Air Force Academy (USAFA) rules, Appellant attempted to
use his computer to access internet chat rooms. To prevent such
communications, USAFA had previously developed a firewall as
part of the USAFA network.

On February 2, 1999, defense counsel requested a new
investigation pursuant to Article 32, UCMJ, 10 U.S.C. § 832
(2000), arguing that the Government mistakenly told defense
counsel that logs describing individuals at USAFA who had
entered and exited the firewall did not exist. In discussing
the motion, the judge made several comments concerning the
competency of the defense counsel for relying on the
Government’s assertion that these logs did not exist, and for
not independently investigating the existence of the logs. When
discussing the reason for a new Article 32 investigation, the
judge criticized the attorneys as follows:

Certainly as an attorney, one would expect to question

why [the firewall logs] didn’t exist. Whether it was
a routine matter or there was something about the

SPECIFICATION 1 OF THE CHARGE WHERE HE FAILED TO
INSTRUCT THE MEMBERS THAT THE UNAUTHORIZED ACCESS TO
THE COMPUTER SYSTEM MUST HAVE BEEN INTENTIONAL.

IV. WHETHER THE MILITARY JUDGE ERRED IN PROVIDING THE
COURT MEMBERS A MISTAKE OF FACT INSTRUCTION WHICH
REQUIRED THEM TO FIND THAT APPELLANT’S MISTAKE OF FACT
WAS REASONABLE INSTEAD OF MERELY HONEST.
Case 1:21-cv-01578-TNM Document1-1 Filed 06/04/21 Page 23 of 35

United States v. Wiest, No. 03-0106/AF

particular logs from this occasion that somehow were

lost or destroyed inadvertently . -. . We are just

talking about testing the available evidence, which is

the function of an advocate.

In response to defense counsel’s explanation as to why the
motion was made months after the original Article 32
investigation, the judge stated, “but the thought never occurred
to you at that time to ask why [the logs] didn’t exist?” “[I]f
you have an indication that the type of evidence that you are
looking for should be in existence, then I think as an attorney
you should be questioning why it is no longer in existence.”
The judge said defense counsel should not have accepted the
government representative’s statement that the logs did not
exist, and should have asked their own consultant rather than
relying on the Government representative. The judge said
defense counsel should have assumed the records were always
present and “had been misinformed.” Counsel responded that they
assumed the government was telling the truth. The judge then
said, “a competent advocate assume[s] nothing.” In response to
the judge’s continued questioning, the defense counsel stated:
“Again, if we were remiss and if I’m not a competent advocate
for not confirming that, I'll take that hit. But, it doesn’t
take anything away from the fact that [the Government] actually
knew the records existed... .”% Later, the defense admitted

they were “novices with computers” and dependent upon experts
Case 1:21-cv-01578-TNM Document1-1 Filed 06/04/21 Page 24 of 35

United States v. Wiest, No. 03~0106/AF

who thought the logs did not exist. In denying the motion for a
new Article 32 investigation, the judge noted that the
“availability of the firewall logs, regardless of their
completeness, was unappreciated by both the prosecution and the
defense.” He continued:

The attorneys in this case were not by training or

experience well~equipped to deal with the complex

computer[{-]related materials inherent in the alleged
offenses... . [I]t is utterly confounding to the

court the defense expert limited himself to stating

requests to attorneys who were not equally qualified

in the subject matter.

After the judge denied the motion for a new Article 32
investigation, Appellant told the judge he believed his counsel
were ineffective at the original Article 32 investigation, and
therefore requested new defense counsel. Appellant was then
told he had misunderstood the judge’s words; in not ordering a
new Article 32 investigation, the judge did not say that counsel
was ineffective. Appellant disagreed, and personally addressed
the court as follows: “Your Honor, in light of your statements
that my counsel were ineffective at my Article 32 hearing, as
well as throughout the proceedings leading up to this court-
martial, .. . I would like to fire both.” The judge replied
again that Appellant had misunderstood his prior remarks, but

that because Appellant insisted on new counsel, replacement

counsel “must be available and prepared for trial on 8 March
Case 1:21-cv-01578-TNM Document1-1 Filed 06/04/21 Page 25 of 35

United States v. Wiest, No. 03-0106/AF

1999.” The judge did not at this time release original defense
counsel.

Appellant then requested representation by Major Theurer, a
defense counsel with a reputation as an expert in computer
matters, as an individual military defense counsel under Rule
for Courts-Martial 506(b) [hereinafter R.C.M.]. Although Major
Theurer’s superior approved the request, he was not available
for trial on March 8, prompting the judge to state that “if
Major Theurer is not available on the 8th of March, then he is
not available period. The trial will proceed without him.” On
February 10, Mr. Spinner, a civilian defense counsel, entered
his appearance on behalf of Appellant, but requested a delay
until April 19, because of his schedule. On the same day, the
military judge faxed a response to Mr. Spinner, advising him
that the trial date was March 8 and, “If you wish to represent
the accused you need to be present and prepared on that date.”
He further advised Mr. Spinner, “If you cannot be available and
prepared on that [sic] 8 Mar 99, you are not reasonably
available and should not undertake this representation.”
Finally, he advised Mr. Spinner, “You should not count on any
further continuance being granted, and make your plans
accordingly for preparation or termination of your

representation.”
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On February 12, the Government asked that the continuance
be denied because Appellant “is free to retain counsel. .
Given the amount of time that Cadet Wiest has had, and still
has, to obtain counsel that are available on 8 Mar 99, we
believe no continuances are necessary at this time.” On the
same date, the judge denied the defense request for a
continuance.?

Appellant asked for new military defense counsel on March
8. Two new military defense counsel entered appearances for
Appellant and indicated they were ready to proceed. Mr.
Spinner, who had also been retained as civilian counsel, was not
ready to begin because of other commitments. At this session,
Appellant’s request to release prior military counsel was
granted, as was his request to be represented by new counsel,
without Mr. Spinner as civilian counsel. The trial proceeded as
scheduled.

DISCUSSION

The right to counsel is fundamental to our system of

justice. United States v. Palenius, 2 M.J. 86 (C.M.A. 1977).

It should therefore be an unusual case, balancing all the

factors involved, when the judge denies an initial and timely

3 we need not decide whether the trial judge was disqualified
under R.C.M. 902(b) (1), because he had “knowledge of disputed
evidentiary facts concerning” the availability of Mr. Spinner by
obtaining facts ex parte and not subject to judicial notice.
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request for a continuance in order to obtain civilian counsel,
particularly after the judge has criticized appointed military
counsel. Indeed, we have noted that the right to civilian
counsel is a “most valuable right,” and that therefore a
continuance should be granted at least after initial requests
for such counsel have been made, and certainly in a case where
Appellant is unsure of his appointed military representation.

United States v. Kinard, 21 C.M.A. 300, 303, 45 C.M.R. 74, 77

(C.M.A. 1972) (citing United States v. Donohew, 18 C.M.A. 149, 39

C.M.R. 149 (C.M.A. 1969)); cf. Morris v. Slappy, 461 U.S. 1, 3-4

(1983) (citing Slappy v. Morris, 649 F.2d 718 (9th Cir. 1981)).

Accordingly, we hold that the military judge erred by exercising
an inelastic attitude in rescheduling Appellant’s trial, where
such request was predicated on the judge’s negative comments
about Appellant's original military counsel and Appellant’s
subsequent selection of a new civilian counsel.

Our standard of review in the case at bar is abuse of

discretion. United States v. Weisbeck, 50 M.J. 461, 464-66

(C.A.A.F. 1999). In determining whether the judge abused his

discretion, we consider the factors articulated in United States

v. Miller: “surprise, nature of any evidence involved,
timeliness of the request, substitute testimony or evidence,
availability of witness or evidence requested, length of

continuance, prejudice to opponent, moving party received prior
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continuances, good faith of moving party, use of reasonable
diligence by moving party, possible impact on verdict, and prior
notice.” 47 M.d. 352, 358 (C.A.A.F. 1997) (citation omitted).

See also United States v. Cokeley, 22 M.J. 225, 229~30 (C.M.A.

1986) (availability of witnesses); Kinard, 21 C.M.A. at 305, 45
C.M.R. at 79.

As to surprise on February 10, Mr. Spinner requested a
continuance well before the March 8 trial date. The request for
a continuance was based on unexpected events. Here, Appellant
was clearly surprised by the harsh criticism of his counsel by
the military judge, and this factor weighed in favor of a
continuance. As to timeliness, Mr. Spinner requested the
continuance as soon as he was retained, six days after the court
was recessed and well before the trial date. He had made no
prior requests for continuance, nor was there any delay or bad
faith by Appellant as he contacted Mr. Spinner almost
immediately and Mr. Spinner promptly submitted his request for a
continuance.

Because of the comments made by the judge concerning
Appellant’s representation at the Article 32 hearing, Appellant
requested the appointment of new military counsel and sought, in
addition, to retain civilian counsel. Based on the record, this
request was not a surprise. Appellant's request for new counsel

was submitted shortly after the February 2 session pursuant to
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Article 39(a), UCMdJ, 10 U.S.C. § 851(a) (2000). The timing of
this request therefore allowed sufficient time to establish a
date when civilian counsel would be available to work within the
schedule of the witnesses, none of whom were outside the United
States. Moreover, the Government did not establish a reason for
opposing Appellant’s request for a continuance, other than
noting that the witnesses were available on March 8, 1999. Nor
did they establish an attempt by Appellant to “vex” the
Government, or show that witnesses would not be available at a
later date. “Where a military judge denies a continuance
request made for the purpose of obtaining civilian counsel,
prejudice to the accused is likely.” Miller, 47 M.J. at 359.
Given these circumstances, the military judge should have
granted the continuance, and therefore abused his discretion in
failing to do so.
DECISION

The decision of the United States Air Force Court of
Criminal Appeals is reversed, the findings and the sentence are
set aside, and the record of trial is returned to the Judge
Advocate General for a further disposition not inconsistent with

this opinion.

10
Case 1:21-cv-01578-TNM Document1-1 Filed 06/04/21 Page 30 of 35

CORRECTED COPY ~- DESTROY ALL OTHERS

DEPARTMENT OF THE AIRFORCE —
HEADQUARTERS UNITED STATES AIR FORCE ACADEMY (USAFA)
USAF ACADEMY, COLORADO 80840

General Court-Martial Order , 27 September 2004
No. 8

In the general court-martial case of CADET CHRISTOPHER D. WSIS WIEST, S658@8-1530,
the findings of guilty and sentence as promulgated in General Court-Martial Order No. 2, this
headquarters, dated 27 December 1999, were set aside on 16 March 2004. A rehearing was
found to be impractical. Pursuant to the authority of RCM 1107(e), the charges are dismissed.
All rights, privileges, and property of which the accused has been deprived by virtue of the
findings of guilty and the sentence so sét aside will be restored. That sentence was adjudged on.
13 March 1999,

ACM #33964.
/sl
JOHN W. ROSA
Lieutenant General, USAF
Superintendent
FOR THE SUPERINTENDENT.
MI LR. te oor USAF
Staff Judge Advocate

+:GCMO No, 8 Personal Data — Privacy Act of 1974 (S U.S.C. 552a)
Case 1:21-cv-01578-TNM Document1-1 Filed 06/04/21 Page 31 of 35

CAUTION: NOT TO BE USED FOR THIS 1S AN IMPORTANT RECORD.
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USAF ACADEMY COLORADO 2669 Ravenwood Court, Wexford, PA 150590
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18, REMARKS

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COMMISSIONED OFFICER STATUS. MEMBER HAS NOT COMPLETED FIRST FULL TERM OF SERVICE. . ~ NOTHING FOLLOWS — —

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Case 1:21-cv-01578-TNM Document1-1 Filed 06/04/21 Page 33 of 35

chris@cwiestlaw.com

From: AF-CJIC <AF.CJIC@US.AF.MIL>

Sent: Monday, April 19, 2021 2:03 PM

To: chris@cwiestlaw.com

Subject: Air Force Expungement Request Acknowledgement

Mr. Wiest,

This email is in response to your April 19, 2021 Expungement/Correction Request. Your request has been received,
uploaded and is in the queue for processing/review/final response.

The Department of the Air Force - Criminal Justice Information Cell (DAF-CJIC) processes all expungement requests on a
“first in, first out” basis. While not typical, requests could take 6 months or substantially longer to complete based upon
the complexity of your request or the requests that precede it or other mitigating circumstances.

DAF-CHC will gather all relative documents available and evaluate these documents against your Air Force record within
the National Crime Information Center, Interstate Identification Index, National Instant Background Check System,
Defense Central Index of Investigations, and Combined DNA Index Systern; should it exist.

When this review is completed, you can expect to receive notification that the review has been completed and the
results of that review.

Expungements Program

Department of the Air Force - Criminal Justice Information Cell (DAF-CJIC}
HO, OSI/XIC Quantico, VA

27130 Telegraph Road

Quantico, VA 22134

For more information on expungemenits: !

From: chris@cwiestlaw.com <chris@cwiestlaw.com>
Sent: Monday, April 19, 2021 1:08 PM

To: AF-CHC <AF.CJHIC@US.AF.MIL>

Subject: [Non-DoD Source] AFOSI/ Expungement

To Whom It May Concern:

Please see the communication, attached.

Sincerely,

Christopher Wiest

Chris Wiest, Attorney at Law, PLLC .
25 Town Center Blvd, Ste. 104 EXHIBIT
Crestview Hills, KY 41017

513-257-1895 (v) f LV

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Case 1:21-cv-01578-TNM Document1-1 Filed 06/04/21 Page 35 of 35

VERIFICATION

Pursuant to 28 U.S.C. 1746, I, Christopher Wiest, declare under penalty of perjury that I have
read the foregoing Verified Complaint, that I am competent to testify in this matter, that the facts
contained therein are true and correct, and are based information personally known and observed
by me

Executed on Jere / Zoetl |.

JE ae2k

Christopher Wiest

